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                    THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE

   CHROMADEX, INC. and TRUSTEES )
   OF DARTMOUTH COLLEGE,        )
                                )               REDACTED PUBLIC VERSION
                Plaintiffs,     )
                                )
       v.                       )               C.A. No. 18-1434-CFC
                                )
   ELYSIUM HEALTH, INC.,        )
                                )
                Defendant.      )
                                )

   ELYSIUM HEALTH’S OPENING BRIEF IN SUPPORT OF ITS DAUBERT
            MOTION (NO. 1) TO EXCLUDE OPINIONS OF
        ROBERT W. SOBOL AND ROBERT D. LARSEN THAT ARE
         INCONSISTENT WITH THE CLAIMS AS CONSTRUED



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   {01683238;v1 }
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   {01683238;v1 }                                               i
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   I.       Summary of Argument
            Plaintiffs rely on expert opinions of Drs. Robert W. Sobol and Robert D.

   Larsen to defend the validity of the asserted patents. But their opinions depend on

   interpretations of the asserted claims that do not follow—and fundamentally

   reject—this Court’s Claim Construction Order. Under Daubert, Plaintiffs should

   not be allowed to confuse the jury with unreliable and unhelpful opinions. The

   jury must decide infringement and invalidity under the claims as construed by the

   Court.

   II.      Argument
            An expert’s testimony should be excluded if it does not rest on “a reliable

   foundation” or is not “relevant to the task at hand.” Daubert v. Merrell Dow

   Pharms., Inc., 509 U.S. 579, 597-98 (1993). “[E]xpert testimony inconsistent with

   the Court’s claim construction is unreliable and unhelpful to the trier of fact” and

   must be excluded. Personalized User Model, L.L.P. v. Google Inc., 2014 U.S.

   Dist. LEXIS 25356, at *4-5 (D. Del. Feb. 27, 2014); see also Liquid Dynamics

   Corp. v. Vaughan Co., 449 F.3d 1209, 1224 n.2 (Fed. Cir. 2006) (expert testimony

   properly excluded “because it was based on an impermissible claim construction”);

   Cook Inc. v. Endologix, Inc., 2012 U.S. Dist. LEXIS 126652, at *10 (S.D. Ind.

   Sept. 6, 2012) (expert testimony that conflicts with court’s claim construction is

   “unhelpful and confusing to the jury”).



   {01683238;v1 }                              1
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            A.      Dr. Sobol’s Opinions Are Contrary to the Court’s Claim
                    Construction

            The opinions expressed in Dr. Sobol’s invalidity rebuttal report rely on

   claim interpretations that flout this Court’s Markman Order (D.I. 152). Plaintiffs

   must not be permitted to defend the validity of the patents by urging the jury to

   interpret the claims inconsistently with the Court’s Order.

            Section 101 Rebuttal Opinion. To defend the patentability of claims

   directed to products of nature, Dr. Sobol assumes claim limitations not found in the

   claim language or the Markman Order. Specifically, Dr. Sobol states:

            The Asserted Claims are directed to compositions that include isolated
            NR in quantities far beyond that found in nature, formulated for oral
            administration to increase NAD+ biosynthesis with a surety and in an
            amount far beyond that which can be achieved from naturally
            occurring NR, such as by consumption of natural sources like milk.

   Ex. A at ¶ 142 (emphases added).1 When pressed in his deposition about the

   source of these requirements, Dr. Sobol admitted that “those words are not in the

   claim construction or claims. That was my presentation of—that was in my report,

   not in the claims as written.” Ex. B at 240-241. Dr. Sobol is not permitted to

   contradict this Court’s construction.

            First, the plain language of the claims imposes no quantity requirement on

   the amount NR in the claimed composition, and nothing in this Court’s Markman


   1
     This interpretation of the claims is echoed in other paragraphs of Dr. Sobol’s
   report. See, e.g., Ex. A at ¶¶ 150, 154, 157-160, 166, 168-69.

   {01683238;v1 }                              2
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   Order requires the NR in the claimed compositions be “in quantities far beyond

   that found in nature.” During claim construction, Plaintiffs proposed construing

   “isolated nicotinamide riboside” as requiring that NR make up at least 25% of the

   composition. D.I. 99 at 22. When the Court declined to accept this argument,

   Plaintiffs withdrew it and stipulated to a construction that required no threshold

   amount or concentration of NR, as memorialized in this Court’s Claim

   Construction Order. Ex. C at 29; D.I. 152. Dr. Sobol, when pressed, admitted that

   the claims “don’t speak to a threshold amount, no.” Ex. B at 199.

            Second, contrary to Dr. Sobel’s opinion, the claims as construed do not

   require that the NR in the claimed compositions increase NAD+ biosynthesis “with

   a surety and in an amount far beyond that which can be achieved from naturally

   occurring NR.” The asserted claim of the ’086 patent contains no limitation

   regarding NAD+ biosynthesis, and the claims of the ‘807 patent contain no

   “surety” or amount limitations. In their Markman briefing, Plaintiffs never

   suggested “surety” or “amount” requirements for the claimed increase in NAD+

   biosynthesis. Instead, contrary to Dr. Sobol’s § 101 opinion, Plaintiffs stated,

   “[d]etermining whether this claim limitation is satisfied is straightforward: does

   oral administration of the claimed composition increase NAD+ biosynthesis, or

   not?” D.I. 99 at 89-90.




   {01683238;v1 }                             3
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            The Court’s construction of this claim term says nothing about the “surety”

   of the increase, nor does it require any specific amount of increase, as Dr. Sobol

   eventually conceded during his deposition. Ex. B at 239, 240-241. Instead, the

   Court construed the term to require that the composition “increases NAD+

   biosynthesis upon oral administration to an animal relative to the level of NAD+

   biosynthesis if the composition were not administered to an animal.” D.I. 152 at 2.

   This does not require that there be sufficient NR to provide “surety,” or that the

   increase NAD+ biosynthesis be in an “amount far beyond that which can be

   achieved” through naturally-occurring NR.

            In addition, contrary to Dr. Sobol’s mistaken opinion, the claims of the ’807

   patent do not require that the isolated NR in the claimed composition increase

   NAD+ biosynthesis at all. Rather, they require that the composition (which

   comprises NR in combination with tryptophan, nicotinic acid, or nicotinamide)

   increase NAD+ biosynthesis. Plaintiffs acknowledged this in their claim

   construction briefing: “Claim 1 recites that the claimed ’composition’—not any

   one of its particular components—‘increases NAD+ biosynthesis upon oral

   administration.’” D.I. 99 at 93. In his deposition, Dr. Sobol admitted that in the

   claims it is the composition, not the NR, that must increase NAD+ biosynthesis.

   Ex. B at 204-205. Dr. Sobol’s opinions rest on the opposite assumption, contrary

   to the plain language of the claims and this Court’s Markman Order.



   {01683238;v1 }                              4
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            Dr. Sobol’s improper constructions infect the entirety of his opinions on

   Section 101. The core of his argument is that the claims are patentable because, he

   asserts, they require NR in amounts beyond the amounts in natural compositions

   and sufficient to increase NAD+ biosynthesis beyond any increase provided by

   natural compositions. Ex. A at 60-74. Thus, Dr. Sobol’s opinion on patent-

   eligibility under Section 101 must be excluded as unreliable and unhelpful.

            Section 102 Rebuttal Opinion. Elysium asserts that the Goldberger prior art

   references (describing administration of skim milk and buttermilk to prevent or

   treat NAD+ deficiency diseases),2 as well as skim milk, which comprises isolated

   NR and was being used and sold long before the ’807 patent’s priority date, render

   that patent invalid as anticipated. Dr. Sobol’s rebuttal opinion also defies this

   Court’s Markman Order.

            First, Dr. Sobol asserts that the NR in skim milk and buttermilk is not

   “isolated” NR as required by the ’807 claims. This opinion requires him to re-

   write the claims to include requirements specifying the amount or purity of NR in

   the claimed composition. Dr. Sobol expresses this non-existent limitation in a

   variety of ways, including by opining that “a small concentration of NR is not


   2
    See Ex. D, Joseph Goldberger et al., “A Study of the Blacktongue-Preventative
   Action of 16 Foodstuffs, with Special Reference to the Identity of Blacktongue of
   Dogs and Pellagra of Man,” Public Health Reports, 43(23):1385-1454 (1928); Ex.
   E, Joseph Goldberger and W.F. Tanner, “A Study of the Treatment and Prevention
   of Pellagra,” Public Health Reports, 39(3):87-107 (1924).

   {01683238;v1 }                              5
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   isolated NR.” Ex. A at ¶ 280. He also opines that the NR in skim milk and

   buttermilk is not “isolated” because:

                     the removal of fat from whole milk to produce skim milk and
                      buttermilk “does not result in an appreciable increase in the
                      concentration or purity of the NR”;

                     NR in skim milk is “less concentrated than the minimum 25% w/w
                      suggested by” the patent; and

                     NR in skim milk and buttermilk does not make up “at least 0.1%” of
                      the composition.

   Ex. A, at ¶¶ 280-83, 289-95 (emphases added); see also id. at ¶¶ 304-305; 313-315,

   321-327, 337-38, 345-348, 368-69.

            As explained above, however, the court rejected Plaintiffs’ argument that the

   claims require a threshold amount or concentration of NR. Plaintiffs cannot ignore

   the Court’s order and reassert their losing claim construction positions via expert

   opinion to avoid the prior art. The testimony is unhelpful, unreliable, violates the

   Markman order, and must be excluded. See Cook, 2012 U.S. Dist. LEXIS 126652,

   at *10 (excluding expert where party “did not succeed with its argument at claim

   construction and cannot seek to reargue its point at trial through expert

   testimony”).

            Similarly, Dr. Sobol argues that skim milk and buttermilk do not comprise

   “isolated NR” because they contain “many other components” in addition to NR.

   A at ¶¶ 282-83, 315-16, 348. However, the Court’s construction of “isolated NR”



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   only requires the NR to be “separated or substantially free from at least some of

   the other components associated with the source” of the NR. D.I. 152. It thus

   expressly permits other components of the source to remain in the isolated NR.

            Second, Dr. Sobol opines that the NR in prior art skim milk and buttermilk is

   not “isolated” because the nicotinamide riboside in those products “have not been

   proven to increase NAD+ biosynthesis upon oral administration.” Ex. A at ¶¶ 296,

   328, 360; see also id. at 297-302, 304-305, 328-334, 337-38, 360-366, 368-69. But

   as explained above, the ’807 claims do not require that the NR increase NAD+

   biosynthesis; they require that the composition do so. Dr. Sobol’s opinion again

   contradicts the claims as construed and must be excluded.3

            Section 112 Rebuttal Opinion. Dr. Sobol’s rebuttal opinion on enablement

   and written description assumes a claim construction that contradicts this Court’s

   order construing “nicotinamide riboside.” The Court construed that term to mean:

   “nicotinamide riboside or a derivative (e.g., L-valine or L-phenylalanine esters) of

   nicotinamide riboside.” D.I. 152. Over Plaintiffs’ objection, the Court ruled that

   derivatives of NR are included within the claim scope, and that L-valine and L-

   phenylalanine esters are examples of such derivatives. At the claim construction

   hearing, the Court explained that the applicant acted as his own lexicographer



   3
    In particular, the Court should exclude the opinions set forth in sections IX.B.1,
   IX.B.2, and IX.B.3 of Dr. Sobol’s report. Ex. A at 113-149.

   {01683238;v1 }                             7
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   “when he stated that, ‘nicotinamide riboside can be a derivative, for example, L-

   valine or L-phenylalanine esters of nicotinamide riboside,’ and that is at column

   28, lines 63 through 65.” Ex. C at 22-23 (emphasis added); see also id. at 25.

            Ignoring this ruling, Dr. Sobol re-writes the Court’s construction as:

                    nicotinamide riboside or a derivative (e.g., L-valine or L-
                    phenylalanine esters) salt or ester of nicotinamide riboside

   Specifically, Dr. Sobol opines that “a POSA would understand this phrase [i.e., “a

   derivative (e.g., L-valine or L-phenylalanine esters) of nicotinamide riboside”] to

   reference salts and esters of NR.” Ex. A at ¶ 988. The Court’s claim construction

   is not limited to salts or esters of NR. Indeed, in their Markman brief, Plaintiffs

   argued, in the alternative, that if the term nicotinamide riboside were construed to

   include derivatives, it should be limited to specific derivatives—i.e., salts—of NR.

   D.I. 99 at 11, n.5. The Court rejected that argument. Plaintiffs should not be

   permitted to sidestep the Court’s ruling by offering expert testimony that

   contradicts it.

            Dr. Sobol’s refusal to abide by this Court’s construction of “nicotinamide

   riboside” permeates his enablement and written description opinion. In nearly

   every paragraph of his opinion on these issues, Dr. Sobol asserts that the claims are

   limited to a subset of esters and salts. See Ex. A at ¶¶ 987-1050. Because his

   opinions rest on an incorrect claim construction, they must be excluded.




   {01683238;v1 }                              8
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            B.      Dr. Larsen’s Opinion Are Contrary to the Court’s Claim
                    Construction

            In response to Elysium’s expert opinion on the invalidity of the asserted

   claims under §112, Plaintiffs submitted a second expert rebuttal report from a new

   expert, Dr. Larsen, who also addressed to the meaning of the claim term

   “nicotinamide riboside.” Ex. F at ¶¶ 25-42. Echoing Dr. Sobol’s opinion,

   discussed above, Dr. Larsen purports to construe the Court’s construction of the

   term to mean: “salts and/or esters of nicotinamide riboside that are understood to

   routinely and predictably deliver nicotinamide riboside, either through dissolution

   or by esterase-catalyzed hydrolysis, following organization.” Id. at ¶ 25.

            This opinion is unreliable and unhelpful for the same reasons as Dr. Sobol’s

   opinion: the Court did not limit derivatives of NR to salts and ester derivatives.

   Dr. Larson’s opinion likewise must be excluded.


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                            CERTIFICATE OF COMPLIANCE

            This brief complies with the type, font and word limitations set forth in this

   Court’s Standing Order Regarding Briefing in All Cases, dated November 6, 2019.

   This brief contains 2033 words (excluding the title page, table of contents, table of

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